The Court of Appeals has stated the case. On the case so stated this court is of opinion that appellant Rawls was entitled to the several instructions requested by him in writing, to the effect that, if he sold to Warren in ignorance of the fact that appellees had been instrumental in bringing them (Rawls and Warren) into negotiation, then appellant was entitled to a verdict; this for the reason that Rawls had sold to Warren on terms different from, and, for aught appearing, less advantageous than, those on which by their contract appellees were to procure a purchaser; for the purchaser had refused to buy on the terms specified between the parties. Appellees undertook to effect a sale on prescribed terms. Appellant sold on different terms, for a different consideration. There was no bad faith on the part of appellant, for the hypothesis of the instructions is that he did not know that the purchaser had been sent to him by appellees. It may be assumed that he got the best terms obtainable; but he could not get the price at which he had authorized appellees to find a purchaser. In the case thus hypothesized it was the duty of appellees, if they intended to claim commissions on a sale at different terms, to notify appellant vendor in order, as said in Handley v. Shaffer, 177 Ala. 654, 59 So. 286, that he might protect his own as well as appellees' interest by declining to deal on different terms or by so dealing as to make due allowance for appellees' commissions. To the same effect is the case of Dancy v. Baker, 206 Ala. 236, 89 So. 590. This rule commends itself to us as being just and sound.
Certiorari awarded. Reversed and remanded.
ANDERSON, C. J., and SAYRE, GARDNER, THOMAS, and MILLER, JJ., concur.
[1] 18 Ala. App. 644.